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CT Corporation                                                            Service of Process
                                                                          Tran^mittai
                                                                          03/22/:j018
                                                                          CT Log Number 533010417
TO:       Kim Lundy Service of Process, Legal Support Supervisor
          Walmart Inc.
          702SW8thSt,MS#0215
          BentonviUe, AR 72716-6209

RE:       Process Served in Louisiana

FOR:      Wal-Mart Stores, Inc. (Former Name) (Domestic State: DE)
          Walmart Inc. ^rue Name)



ENCLOSED ARE COPIES OF LEGAL PROCESS RECEIVED BY THE STATUTORY AGENT OF THE ABOVE COMPANY AS FOLLOMISt

TITLE OF ACTIONi                    Apelacion Jean, Pltf. vs. Wal-Mart Stores, Inc. and Wal-AAart Louisiana, LLC, Dfts.
DOCUMENT(S}SERVED:                  Citation, Petition, Interrogatories
COURT/AGENCY:                       ST. BERNARD; 34TH JUDICIAL DISTRICT COURT, LA
                                    Case #180325

NATURE OF ACTIONi                   Personal Injury - Failure to Maintain Premises In a Safe Condition - 04/06/2017 -
                                    8101 W.Judge Perez Drive, Chalmette, Louisiana 70043
ON WNOM PROCESS WAS SERVED:         C T Corporation System, Baton Rouge, LA
DATE AND HOUR OF SERVICB            By Process Server on 03/22/2018 at 08:50
JURISDICTION SERVED i               Louisiana

APPEARANCE OR ANSWER DUE:           Within 15 days after receipt (Document(s) may contain additional answer dates)
ATTORNEY(S)/ SENDER(S):             Larue Halgler, 111
                                    3801 Canal StreeL Ste. 211
                                    New Orleans, LA 70119
                                    504-343-6781

ACTION ITEMS:                       CT has retained the current log. Retain Date: 03/23/2018, Expected Purge Date:
                                    03/28/2018

                                    Image SOP
                                    Email Notification, Kim Lundy Service of Projcess ctlawsults@walmartlegal.com
SIGNED:                             C T Corporation System
ADDRESS:                            3867 Plaza Tower Dr.
                                    Baton Rouge, LA 70816-4378
TELEPHONE:                          954-473-5503




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                                                                          tnfonnatlon dtsptayed on this transmlttal Is for CT
                                                                          Coiponitlon'i record ieeping purposes only end Is provided to
                                                                          the recipient for quick rrference. This Infonnation does not
                                                                          a)nstltule a legal opinion as to the nature of action, the
                                                                          amount of damages, the answer(
                                                                          ointalneid In the documents then
                                                                          responsible for Int^retlng said (
                                                                          appropriate action. SIpiatures or
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                                                                          confirm focelpt of package only.
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